AO 245B (W D N C R ev. 2/11) Judgm ent in a C rim inal C ase



                                                          United States District Court
                                                     For The W estern District of North Carolina

UNITED STATES OF AMERICA                                                               JUDGM ENT IN A CRIM INAL CASE
                                                                               (For Offenses Com m itted On or After Novem ber 1, 1987)
         V.
                                                                               Case Num ber: DNCW 111CR000021-001
Angel Evilio Alvarado-Gonzalez
                                                                               USM Num ber: 26264-058
                                                                               Em ily Marroquin
                                                                               Defendant’s Attorney

THE DEFENDANT:

X        Pleaded guilty to count(s) 1, 3 & 5.
         Pleaded nolo contendere to count(s) which was accepted by the court.
         W as found guilty on count(s) after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense(s):


                                                                                                Date Offense
 Title and Section                    Nature of Offense                                         Concluded                          Counts

 18 U.S.C. §§ 371 and 2               Conspiracy to Com m it Offenses Against the United        1/18/2011                          1
                                      States (Production of False Identification Docum ents
                                      and Production of Counterfeit Social Security Cards

 18 U.S.C. §§ 1028A (2)               Aggravated Identity Theft, and Aiding and Abetting        1/24/2011                          3

 18 U.S.C. § 2 and                    Production of False Identification Docum ents             12/7/2010                          5
 1028(a)(1) (2)



       The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed pursuant to the
Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

         The defendant has been found not guilty on count(s) .
         Count(s) (is)(are) dism issed on the m otion of the United States.

         IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of
 nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this judgm ent are fully
paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States attorney of any m aterial change in
the defendant’s econom ic circum stances.


                                                                                      Date of Im position of Sentence: 3/15/2012




                                                                                       Date:         March 22, 2012




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                                                                      IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a term of
SIX(6) MONTHS on each of Counts One and Five to be served concurrently with each other, and a term of TW ENTY-FOUR (24)
MONTHS on Count Three, to be served consecutively to the term im posed on Counts One and Five, for a total term of THIRTY (30)
MONTHS .




X         The Court m akes the following recom m endations to the Bureau of Prisons:

          - Participate in any educational and vocational opportunities.
          - Support all dependants from prison earnings, who are U.S. Citizens
          - Placed as close to Arden, NC as possible, considering his security classification.
          - Participate in Federal Inm ate Financial Responsibility Program .

                     X         The Defendant is rem anded to the custody of the United States Marshal.

                               The Defendant shall surrender to the United States Marshal for this District:

                                                    As notified by the United States Marshal.

                                                     At___a.m . / p.m . on ___.

                               The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                                                    As notified by the United States Marshal.

                                                     Before 2 p.m . on ___.

                                                    As notified by the Probation Office.

                                                                                  RETURN

                               I have executed this Judgm ent as follows:




                            Defendant delivered on __________ to _______________________________________ at
                     ________________________________________, with a certified copy of this Judgm ent.


                                                                              ___________________________________________
                                          United States Marshal


                                                                     By: _______________________________________
                                                                                   Deputy Marshal




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                                                           SUPERVISED RELEASE

        Upon release from im prisonm ent, the defendant shall be on supervised release for a term of THREE (3)
YEARS on each of counts One and Five and a term of ONE (1) YEAR on Count Three, all such term s to run
concurrently. In accordance with procedures provided in the Im m igration and Naturalization Act, 8 U.S.C. 1101, et
seq, the defendant, upon release from im prisonm ent shall be surrendered to a duly-authorized im m igration official for
deportation. As a condition of supervised release, if ordered deported, the defendant shall rem ain outside the United
States. As a further condition of supervised release, the defendant shall abide by all orders and directives of the
United States Im m igration officials. Should deportation not occur, the defendant shall report in person within 72
hours of release from custody of the Bureau of Prisons or release from custody of the Im m igrations and Custom s
Enforcem ent Agency to the probation office in the district to which the defendant is released.

          The condition for m andatory drug testing is suspended based on the court’s determ ination that the defendant
          poses a low risk of future substance abuse.

                                             STANDARD CONDITIONS OF SUPERVISION
          The defendant shall com ply with the standard conditions that have been adopted by this court and any additional conditions ordered.

1.        The defendant shall not com m it another federal, state, or local crim e.
2.        The defendant shall refrain from possessing a firearm , destructive device, or other dangerous weapon.
3.        The defendant shall pay any financial obligation im posed by this judgm ent rem aining unpaid as of the com m encem ent of the sentence
          of probation or the term of supervised release on a schedule to be established by the C ourt.
4.        The defendant shall provide access to any personal or business financial inform ation as requested by the probation officer.
5.        The defendant shall not acquire any new lines of credit unless authorized to do so in advance by the probation officer.
6.        The defendant shall not leave the W estern D istrict of N orth C arolina without the perm ission of the C ourt or probation officer.
7.        The defendant shall report to the probation officer in a m anner and frequency directed by the court or probation officer.
8.        A defendant on supervised release shall report in person to the probation officer in the district to which he or she is released within 72
          hours of release from custody of the Bureau of Prisons.
 9.       The defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer.
10.       The defendant shall support his or her dependents and m eet other fam ily responsibilities.
11.       The defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training, or other
          activities authorized by the probation officer.
12.       The defendant shall notify the probation officer within 72 hours of any change in residence or em ploym ent.
13.       The defendant shall refrain from excessive use of alcohol and shall not unlawfully purchase, possess, use, distribute or adm inister any
          narcotic or other controlled substance, or any paraphernalia related to such substances, except as duly prescribed by a licensed
          physician.
14.       The defendant shall participate in a program of testing and treatm ent or both for substance abuse if directed to do so by the probation
          officer, until such tim e as the defendant is released from the program by the probation officer; provided, however, that defendant shall
          subm it to a drug test within 15 days of release on probation or supervised release and at least two periodic drug tests thereafter for use
          of any controlled substance, subject to the provisions of 18:3563(a)(5) or 18:3583(d), respectively; The defendant shall refrain from
          obstructing or attem pting to obstruct or tam per, in any fashion, with the efficiency and accuracy of any prohibited substance testing or
          m onitoring which is (are) required as a condition of supervision.
15.       The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or adm inistered.
16.       The defendant shall not associate with any persons engaged in crim inal activity, and shall not associate with any person convicted of a
          felony unless granted perm ission to do so by the probation officer.
17.       The defendant shall subm it his person, residence, office, vehicle and/or any com puter system including com puter data storage m edia,
          or any electronic device capable of storing, retrieving, and/or accessing data to which they have access or control, to a search, from
          tim e to tim e, conducted by any U .S. Probation Officer and such other law enforcem ent personnel as the probation officer m ay deem
          advisable, without a warrant. The defendant shall warn other residents or occupants that such prem ises or vehicle m ay be subject to
          searches pursuant to this condition.
18.       The defendant shall perm it a probation officer to visit him or her at any tim e at hom e or elsewhere and shall perm it confiscation of any
          contraband observed by the probation officer.
19.       The defendant shall notify the probation officer within 72 hours of defendant’s being arrested or questioned by a law enforcem ent
          officer.
20.       The defendant shall not enter into any agreem ent to act as an inform er or a special agent of a law enforcem ent agency without the
          perm ission of the C ourt.
21.       As directed by the probation officer, the defendant shall notify third parties of risks that m ay be occasioned by the defendant’s crim inal
          record or personal history or characteristics, and shall perm it the probation officer to m ake such notifications and to confirm the
          defendant’s com pliance with such notification requirem ent.
22.       If the instant offense was com m itted on or after 4/24/96, the defendant shall notify the probation officer of any m aterial changes in
          defendant’s econom ic circum stances which m ay affect the defendant’s ability to pay any m onetary penalty.
23.       If hom e confinem ent (hom e detention, hom e incarceration or curfew) is included you m ay be required to pay all or part of the cost of the
          electronic m onitoring or other location verification system program based upon your ability to pay as determ ined by the probation
          officer.
24.       The defendant shall cooperate in the collection of D N A as directed by the probation officer.
25.       The defendant shall participate in transitional support services under the guidance and supervision of the U.S. Probation Officer. The
          defendant shall remain in the services until satisfactorily discharged by the service provider and/or with the approval of the U.S.
          Probation Officer.
ADDITIONAL CONDITIONS:

26.       Throughout the period of supervision the probation officer shall m onitor the defendant’s econom ic circum stances and shall report to the
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         court, with                            Document
                     recom m endations as warranted, any m aterial55
                                                                  changesFiled    03/22/12
                                                                          that affect               Page
                                                                                      the defendant’s          3pay
                                                                                                      ability to of any
                                                                                                                    6 court ordered penalties.
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                                                   CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


        ASSESSM ENT                                             FINE                                   RESTITUTION

             $300.00                                            $0.00                                       $0.00



                     The determ ination of restitution is deferred until     . An Amended Judgment in a Criminal Case
                     (AO 245C) will be entered after such determ ination.

                                                                FINE


          The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or
restitution is paid in full before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the
paym ent options on the Schedule of Paym ents m ay be subject to penalties for default and delinquency pursuant to
18 U.S.C. § 3612(g).

X                    The court has determ ined that the defendant does not have the ability to pay interest and it is
                     ordered that:

X                    The interest requirem ent is waived.

                     The interest requirem ent is m odified as follows:


                                                 COURT APPOINTED COUNSEL FEES

                     The defendant shall pay court appointed counsel fees.

                     The defendant shall pay $                 Towards court appointed fees.




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                                                        SCHEDULE OF PAYM ENTS


Having assessed the defendant’s ability to pay, paym ent of the total crim inal m onetary penalties shall be due as
follows:

          A                    Lum p sum paym ent of $                   Due im m ediately, balance due

                               Not later than                , or
                               In accordance              (C),       (D) below; or

          B          X         Paym ent to begin im m ediately (m ay be com bined with              (C),    X (D) below); or

          C                    Paym ent in equal                  (E.g. weekly, m onthly, quarterly) installm ents of $        To
                               com m ence                  (E.g. 30 or 60 days) after the date of this judgm ent; or

          D          X         Paym ent in equal Monthly (E.g. weekly, m onthly, quarterly) installm ents of $ 50.00
                               To com m ence 60 (E.g. 30 or 60 days) after release from im prisonm ent to a term of
                               supervision. In the event the entire am ount of crim inal m onetary penalties im posed is not
                               paid prior to the com m encem ent of supervision, the U.S. Probation Officer shall pursue
                               collection of the am ount due, and m ay request the court to establish or m odify a paym ent
                               schedule if appropriate 18 U.S.C. § 3572.


Special instructions regarding the paym ent of crim inal m onetary penalties:

__        The defendant shall pay the cost of prosecution.
          The defendant shall pay the following court costs:
          The defendant shall forfeit the defendant’s interest in the following property to the United States:


Unless the court has expressly ordered otherwise in the special instructions above, if this judgm ent im poses a period
of im prisonm ent paym ent of crim inal m onetary penalties shall be due during the period of im prisonm ent. All crim inal
m onetary penalty paym ents are to be m ade to the United States District Court Clerk, 309 U.S. Courthouse, 100 Otis
Street, Asheville, NC, 28801, except those paym ents m ade through the Bureau of Prisons’ Inm ate Financial
Responsibility Program . All crim inal m onetary penalty paym ents are to be m ade as directed by the court.




Paym ents shall be applied in the following order: (1) assessm ent, (2) restitution principal, (3) restitution interest, (4)
fine principal, (5) fine interest, (6) com m unity restitution, (7) penalties, and (8) costs, including cost of prosecution and
court costs.




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                                                 STATEMENT OF ACKNOW LEDGMENT

I understand that m y term of supervision is for a period of _______m onths, com m encing on ____________________
.

Upon a finding of a violation of probation or supervised release, I understand that the court m ay (1) revoke
supervision, (2) extend the term of supervision, and/or (3) m odify the conditions of supervision.

I understand that revocation of probation and supervised release is m andatory for possession of a controlled
substance, possession of a firearm and/or refusal to com ply with drug testing.

These conditions have been read to m e. I fully understand the conditions and have been provided a copy of them .




(Signed)       ____________________________________ Date: _________________
                Defendant

(Signed)       ____________________________________ Date: _________________
                U.S. Probation Office/Designated W itness




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